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                                                         Exhibit A to the Complaint
Location: Ambler, PA                                                                               IP Address: 173.62.174.51
Total Works Infringed: 50                                                                          ISP: Verizon Fios
 Work      Hashes                                                               UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                           12-07-     Vixen          04-03-2020    04-17-2020   PA0002237302
           013FB4E2FE05A577E30A26645152DD345E96C188                             2021
           File Hash:                                                           06:32:13
           5EA853B95915065642C5BE28E33FA79850309D4241179FCD4851A98B19346A3B
 2         Info Hash:                                                           12-07-     Vixen          04-17-2020    04-22-2020   PA0002237694
           8B3B424903BAA63F146C6587BBAEBD3103EBF169                             2021
           File Hash:                                                           06:30:56
           B8D4A521EF2779064D9E14FA353690E5381774D290E7483CECB8AE4A9C25647A
 3         Info Hash:                                                           12-07-     Vixen          05-01-2020    05-19-2020   PA0002241473
           119AF0FE0D600A691A6BE72E8E70780F0211AD6F                             2021
           File Hash:                                                           06:24:55
           DEF2A0F290E45AF5B8763396AFF59078D56742F92C671B88355E180BA3E645EA
 4         Info Hash:                                                           12-02-     Vixen          09-03-2021    09-30-2021   PA0002320425
           E75A5CE65438DA60766CE023D1D04BD1B1EDBE7D                             2021
           File Hash:                                                           14:27:58
           6F1A48EA19B6DCF1CFF586EF1D17E1E9C0B486DA787E301BDAC525F7BA95985B
 5         Info Hash:                                                           12-02-     Vixen          08-19-2021    10-05-2021   PA0002315294
           DB8787A15D7F79AE6172B90270950685D88C0FAC                             2021
           File Hash:                                                           14:27:58
           71703382467E412A069169BBB0661023A3536F5CD0C6D87ABB8747CDBAC78946
 6         Info Hash:                                                           12-02-     Vixen          08-13-2021    09-08-2021   PA0002316101
           07257BEC82CCA1955ADD964AE5BDDC13D4A5FD0A                             2021
           File Hash:                                                           14:27:56
           4662DDB80A158B410863AB0836C346F653ABD827C1F92E52C2F3186280F760B7
 7         Info Hash:                                                           11-29-     Vixen          07-30-2021    08-20-2021   PA0002312017
           1D935A62F16EF42075C521A42D453CAB7BA7C368                             2021
           File Hash:                                                           06:56:03
           8D159ADC28DDFC5B4BB6E608B489C2B3211B90C5DE1F4B59C26CC2BCEBF132BD
 8         Info Hash:                                                           11-29-     Vixen          07-09-2021    08-20-2021   PA0002312016
           9D1856700B91C39D8A241F97686AB25781DE0068                             2021
           File Hash:                                                           06:49:48
           F23AFB12A245B3128094DEA7643020281A07036BDD7795ED9B72152023839579
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
9      Info Hash:                                                         11-29-     Vixen   07-23-2021   08-23-2021   PA0002308400
       56C6277D305C0F5E24EC146D5E71FEDC48F29D2A                           2021
       File Hash:                                                         06:48:05
       5F5C74C568C51E81E3C92D7AABDEDEB9BCE7626D36E99FDD03BAC670B0D62C10
10     Info Hash:                                                         11-29-     Vixen   06-18-2021   08-20-2021   PA0002312012
       B93B469375A854DE092DDB78F45BC9F9CE5B9ED8                           2021
       File Hash:                                                         06:44:22
       75505285620C45A4726764BBEFF53A50B35C05BBCE564EE11FE634E13A75B6DA
11     Info Hash:                                                         11-29-     Vixen   07-02-2021   08-20-2021   PA0002312015
       94986CB806976C4C5198C16F0F1FAC040750B262                           2021
       File Hash:                                                         06:30:59
       27538E82EE4D8260AE4CF252120D3FD292A27968154DD723E3EBF581A54C4B98
12     Info Hash:                                                         11-29-     Vixen   07-16-2021   09-21-2021   PA0002312673
       454F1DF89C04DC37D4751C74FDA2BD1524A7BF87                           2021
       File Hash:                                                         06:29:30
       5AB87E700F6CE71C5A22ED3D85E819CA76CFCFFEB03C2C9A518AEAEE5BD5BD0C
13     Info Hash:                                                         11-29-     Vixen   06-11-2021   06-24-2021   PA0002303166
       9EAA6BB9432ECBD7BE021383F508D978C07DDDEA                           2021
       File Hash:                                                         06:27:39
       7F59A9419FB30CBA25F2259DC3B0092A785352B8CCFBAE565BA052A7300BA6BB
14     Info Hash:                                                         11-29-     Vixen   06-25-2021   08-20-2021   PA0002312014
       7411B8A680D3AA86271F1D7A00681E16E38CE678                           2021
       File Hash:                                                         06:21:51
       9728CBE8EFD108F2C5E587B66159A1487750E73F44E2CD75E01A8AC20C3741BD
15     Info Hash:                                                         11-28-     Vixen   05-07-2021   06-24-2021   PA0002303619
       1E4D9151E4CEC98F69A92CD6D6FE68C5E8972F23                           2021
       File Hash:                                                         09:12:25
       6FF23A945682BC54C4CBB35994A2BCE8AACE536D816BCEED05F7426578356633
16     Info Hash:                                                         11-28-     Vixen   06-04-2021   06-24-2021   PA0002303620
       FCD69599AE3533B5F148CE148326F563572103F9                           2021
       File Hash:                                                         09:06:47
       57C3F2930505CE912134A089067DC2080E9F681ED7F640743433FD7DB6E58586
17     Info Hash:                                                         11-28-     Vixen   05-28-2021   08-02-2021   PA0002305093
       14E6018A31BAB755871BD1137D8700E68C62FDB4                           2021
       File Hash:                                                         08:23:24
       494136C049FA13A99C0A1626FBF651B64EA15A14FE000396351796E55FCC0234
                               Case 2:21-cv-05521-JMY Document 1-1 Filed 12/17/21 Page 3 of 6

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         11-28-     Vixen     05-14-2021   06-03-2021   PA0002299686
       80DA686CB2BD4A8751E64E5F9A76F64E2913A44D                           2021
       File Hash:                                                         08:20:36
       B40F7BFC1A8932ADCDAFAB881E4D6E84218488CC78D5F18FA85FEA042ECC6203
19     Info Hash:                                                         11-28-     Vixen     05-21-2021   06-03-2021   PA0002299688
       468B16982691C5EC859E27FC7DB0CB4A23EFBFEC                           2021
       File Hash:                                                         08:08:54
       6A53E0B152D167C64AFA6C98580D032B9346556BBC710AAFB5FCFED8FB47D465
20     Info Hash:                                                         11-28-     Vixen     04-30-2021   06-03-2021   PA0002299685
       9BC774ABF2603AC833ACCD5C88C3804A78D8A297                           2021
       File Hash:                                                         08:07:11
       F81974D573968FAA06B4468C16023F5A98CF8B60DA6C3FB454746736781F6FF7
21     Info Hash:                                                         11-28-     Blacked   11-22-2021   12-09-2021   PA0002325831
       EB2FA6D8D0F409495CFD399CD2DF142F55EB24D4                           2021       Raw
       File Hash:                                                         07:52:53
       F6094559C3FA16B75D2E4A8D84124BBF01D59B4C80814C7507E0657BFDFD7D35
22     Info Hash:                                                         11-28-     Tushy     11-21-2021   12-09-2021   PA0002325830
       DFEBDE1F0440B91F41FD2995753F356B9B050507                           2021
       File Hash:                                                         07:43:39
       21FACA4786223C2EE40D7C7AA6245D84FE8C091BA279FECBE626371FC32FEB2F
23     Info Hash:                                                         10-14-     Tushy     07-25-2021   08-20-2021   PA0002312005
       9767CED24A133697D8599AFD1AB50B89C0B04A69                           2021
       File Hash:                                                         04:34:33
       99FD5720D65BE04534C97160861BD595ED0B696DF3AD194E69266CAA76569567
24     Info Hash:                                                         10-14-     Tushy     09-05-2021   09-21-2021   PA0002312671
       F4A97918835DD58FE77C6616EE92FF2840C5596A                           2021
       File Hash:                                                         04:28:28
       B89E9FB1DFA96D2D99CA79899F4D1E4DE93F49A3D29058DF1A2760B109555666
25     Info Hash:                                                         10-13-     Tushy     09-19-2021   10-19-2021   PA0002317058
       0E02F7035E6C0A7B806023E254BE4B877B859AFE                           2021
       File Hash:                                                         23:26:43
       061A655D71EED8816773D4D81C2685BE46EEACFFE09679F1D84F8255267C6A3C
26     Info Hash:                                                         10-13-     Tushy     09-13-2021   10-05-2021   PA0002315290
       E554777F019DD9134EAC9056AA84649792BCC102                           2021
       File Hash:                                                         23:26:09
       B848DF2927CCCE235CBC6B646CB73F83E076FDC3121219B290EFCD5225FAD851
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         10-13-     Tushy     08-08-2021   09-08-2021   PA0002316099
       F4F78E5BFF7C5477CE5383DCD7CD14349EFB493F                           2021
       File Hash:                                                         23:22:22
       37A010F243969C2660520A19AAF03B4A0CF859D29B679D2FF707D1AC4DF973D9
28     Info Hash:                                                         10-13-     Tushy     08-01-2021   09-30-2021   PA0002320423
       9E8381EAB565B293387BC24897D8E214956C7395                           2021
       File Hash:                                                         23:21:49
       CDE851A4C4E00009D765110B63CDBAA04ACF3675D5EAF00179925B78F946CDB9
29     Info Hash:                                                         10-13-     Tushy     07-18-2021   08-02-2021   PA0002305087
       93E2A5FE65E5A1C6FD78BEFFAE920CD4F7701877                           2021
       File Hash:                                                         23:18:14
       B01737AC50BC1B2716C06392CC8B6FE62736C8FF622FFA0F3C04D601409B6668
30     Info Hash:                                                         10-13-     Tushy     07-11-2021   09-21-2021   PA0002312668
       9DC437C24A1C39ADDF1E9D9C1CB76527E9100402                           2021
       File Hash:                                                         23:18:12
       CD65C7799CB97E0A127916FC4B2E662BE7F04B46D6C8C1CABB97FD9060BB3010
31     Info Hash:                                                         10-13-     Blacked   09-27-2021   10-19-2021   PA0002317054
       4EBC017ACD73056D259280A6889B1E5D096C70AB                           2021       Raw
       File Hash:                                                         01:30:45
       D231B67080FC1F806279B7C6856B6FA58C72A5D0461DDA3591480A0FDA36516B
32     Info Hash:                                                         10-13-     Blacked   08-02-2021   08-23-2021   PA0002308428
       E79EC4D3FEB92367693E14BB727D49796B3C6C6F                           2021       Raw
       File Hash:                                                         01:29:20
       51FC290F5DE0285E7040A7FD84A7DF71182816A326C1B56160787D513A7C0DD1
33     Info Hash:                                                         10-13-     Blacked   09-13-2021   11-11-2021   PA0002321292
       44510C39CBDE623DB076713726B8EE66A5153FA8                           2021       Raw
       File Hash:                                                         01:24:08
       86FF2D94459908CB93FD1A67A831204DD7F2EDB3EDBEB5538D485E3FD012349E
34     Info Hash:                                                         10-13-     Blacked   10-04-2021   10-19-2021   PA0002317056
       6A00B3AD102D29D6DA16E2BADEA04A681F2A2E3B                           2021       Raw
       File Hash:                                                         01:23:56
       26AD108DA490FC73928B0AEA7A7919DB19D248D8BF277589820998B4829B41F0
35     Info Hash:                                                         10-13-     Blacked   09-20-2021   11-11-2021   PA0002321298
       53FC7EC290722C6733CAB27F065ED79D309A1AE9                           2021       Raw
       File Hash:                                                         01:18:33
       584E3F7E0529E19FFA76EF625FDA3D97BB860E44CA4E98FDD795985F200171F6
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         10-13-     Blacked   09-06-2021   09-21-2021   PA0002312674
       27506BF5AECC08A13C90B00EE1E32BD301EBBFB7                           2021       Raw
       File Hash:                                                         01:17:57
       5ED74706FFDCE0939D8321E9594A3ED9C6871DB6E8194C795D87CA030210B3FA
37     Info Hash:                                                         10-13-     Blacked   08-23-2021   09-21-2021   PA0002312669
       7B72E3B1893E2790EAB75ADEB289722092940998                           2021       Raw
       File Hash:                                                         01:17:38
       A1803B918EF27AC63E6EAC300110EBFBA330D06757F2F03E417971C2A3112386
38     Info Hash:                                                         10-13-     Blacked   08-30-2021   09-30-2021   PA0002319882
       F899E99231685EB700536EB1D12662BF71619058                           2021       Raw
       File Hash:                                                         01:16:46
       FD7F6691DBE9D76AA31B52A3C7C940CB8CEE2B552DF078A5B9DDF92B6C5F3ED9
39     Info Hash:                                                         10-13-     Blacked   08-19-2021   09-30-2021   PA0002319752
       D2D8C7800A880994A20A40AFB47554A53098D354                           2021       Raw
       File Hash:                                                         01:16:09
       BD51A392B180B77E916B16403ADF3937CE185A5AB20F9E7F5D6B184FA23E835A
40     Info Hash:                                                         10-13-     Blacked   08-09-2021   08-23-2021   PA0002308396
       6746F76DAB40993BD278D97863BA0C84EA2CD7A3                           2021       Raw
       File Hash:                                                         01:16:04
       F7D9D68B8FC913B7183B6763D7424B3FD8E74DCCCCA69EF5AF82640C3DB263A3
41     Info Hash:                                                         10-13-     Blacked   08-07-2021   08-23-2021   PA0002308431
       9B543B02B83223AEA59815F19FE9BC87C07958D7                           2021
       File Hash:                                                         00:28:28
       BB71EAE8FCFF67EF623220E917FC9BDA75C3A4DE0AE01AE6B5CB7A287BAD19FE
42     Info Hash:                                                         10-13-     Blacked   08-28-2021   09-21-2021   PA0002312681
       FB0A1251EDA425B389ABB5DB7D7755FEF207DC98                           2021
       File Hash:                                                         00:27:51
       04EBFD0C0BB98E0E58F1A82C12E953F1AC20CA7E558DB189DB38DB6021F36322
43     Info Hash:                                                         10-13-     Blacked   09-18-2021   10-05-2021   PA0002315291
       E895A41D78A039F714C4F3C30491EA2F3FCE4B35                           2021
       File Hash:                                                         00:16:37
       37B08BA5FC4C27630984E855BE49E906D16D01979D265E4E6E83679D71914A06
44     Info Hash:                                                         10-13-     Blacked   08-14-2021   08-23-2021   PA0002308398
       54F7FD3FB7A3636326E28499C9A8EAF88BA22E43                           2021
       File Hash:                                                         00:15:21
       881181081A5469DF933A3A7DDC466F70F2A4E6E81B4B8F3A77AEAC53356C36C0
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         10-13-     Blacked   10-09-2021   10-19-2021   PA0002317059
       644EF1BBC297123508226CB622D546690BA22249                           2021
       File Hash:                                                         00:14:50
       89E18C3051E0E4C52344EB58518B241F19BFC053B7D43CB37E70E9FD27FFE0E6
46     Info Hash:                                                         10-13-     Blacked   09-13-2021   10-05-2021   PA0002315289
       81B754848E758295267C8F5A0C61B49648FAF122                           2021
       File Hash:                                                         00:12:43
       F8569ABFA44E499C9579796053CD159215AA1893FCA5DAA8DD70A22F6450D182
47     Info Hash:                                                         10-13-     Blacked   08-19-2021   09-30-2021   PA0002319753
       B22286C1F80403E5873A5A3F15FB4B270FB4CDFE                           2021
       File Hash:                                                         00:03:00
       8EF209FB4B8236108E2F39BFE8228149F9871441CB59BC82AE25A07165DC070E
48     Info Hash:                                                         10-12-     Blacked   09-25-2021   10-05-2021   PA0002315288
       CCF640BE0F22EDFFA9A663CAF10C58DAFF0F7291                           2021
       File Hash:                                                         23:57:19
       302D8E587237A608442ABBB835E6496B29280BD0D18E9997F623E4F4E6FF138C
49     Info Hash:                                                         10-12-     Blacked   09-04-2021   09-21-2021   PA0002312679
       A98B919CC1533CAE523CAFFD685F081F76795914                           2021
       File Hash:                                                         23:57:02
       960C0F6EC48DE7B3694E521F123FDE3BB8213D344915BA1C6494CC096D79D029
50     Info Hash:                                                         10-12-     Blacked   09-29-2021   11-11-2021   PA0002321302
       F6DF6136036FD1AC6A63FC65223FB3548A7A67FB                           2021
       File Hash:                                                         23:55:54
       C126126E12706240571EBD2119FA12AB4463F0F5B304E6DF6EE908560F1E9AA5
